           Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 1 of 44 Page ID #:1
AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original      ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
                                                         for the                         LODGED
                                                                                  CLERK, U.S. DISTRICT COURT


                                            Central District of California        04/21/2020
                                                                               CENTRAL DISTRICT OF CALIFORNIA
 United States of America                                                                    clo
                                                                                BY: ____________BB______ DEPUTY




                 v.

 BABAK BROUMAND,
                                                                   Case No.      2:20-mj-01777
                 Defendant.


                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief. In

or about the date of January 2015 to at least late September 2017, in the county of Los Angeles in the Central

District of California, the defendant violated:

           Code Section                                            Offense Description

           18 U.S.C. § 371                                         Conspiracy to Commit Bribery of
                                                                   Public Official

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.


                                                                                   MICHAEL TORBIC
                                                                                 Complainant’s signature

                                                                            Michael Torbic, Special Agent
                                                                                   Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                April 21, 2020
                                                                                      Judge’s signature

 City and state: Los Angeles, California                             Hon. Gail J. Standish, U.S. Magistrate Judge
                                                                                   Printed name and title

      $86$5XWK3LQNHO  5(&'HWHQWLRQ
     Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 2 of 44 Page ID #:2




                                                          Contents
I.       INTRODUCTION ...................................................................................................1

II.      PURPOSE OF AFFIDAVIT....................................................................................2

III.     SUMMARY OF PROBABLE CAUSE...................................................................2

IV.      STATEMENT OF PROBABLE CAUSE................................................................5

         A.        Background on BROUMAND.....................................................................5

         B.        BROUMAND’s Corrupt Relationship with CW1 .......................................7
                        BROUMAND Queries Termendzhyan in FBI Database and Arranges
                            Travel to Los Angeles Allegedly to Introduce Los Angeles
                            Special Agent to a Potential Source...........................................8

                        BROUMAND Meets with Termendzhyan ..........................................10

                        CW1 Purchases Ducati Motorcycle for BROUMAND in Exchange for
                             Information on a Qatari Royal Family Member ......................11

                        BROUMAND Provides CW1 Information on Solakyan.....................12

                        BROUMAND Queries Additional Names in FBI Database................13

                        BROUMAND Gives CW1 FBI Parking Placard.................................14

                        BROUMAND Obstructs the Cisneros Investigation ...........................15

                        BROUMAND Receives Regular Cash Bribe Payments......................20

                        Analysis of Cash Deposits into BROUMAND’s Bank Accounts .......21

                        BROUMAND Receives $30,000 Checks from CW1 in Violation of 18
                            U.S.C. § 371 (Conspiracy to Commit Bribery of Public
                            Official) and Commits At Least One Overt Act ......................24

                        Cash Deposits to HB and ZA’s Bank Account....................................26

                        Additional Items of Value CW1 Provided to BROUMAND ..............27

                        BROUMAND Proposes Utilizing FBI Sources for Financial Gain ....28

                        BROUMAND Proposes Using CW1 to Launder Gaddafi Money ......29

                        BROUMAND Offers to Remove Individuals from the Terrorist
                            Watchlist ..................................................................................30



                                                                 i
 Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 3 of 44 Page ID #:3




      C.        False Statements by BROUMAND ...........................................................30
                     False Statements on SFDF ...................................................................30

                     False Statements to FBI Special Agent Kusin .....................................32

                     False Statements to FBI Supervisory Special Agent Kelly .................33

                     False Statements to FBI Special Agent Adkins ...................................33

                     False Statements on a Union Bank Loan .............................................34

                     False Statements on an Equitable Mortgage Group Loan ...................36

      D.        BROUMAND Underreports His Taxable Income.....................................38

V.    NECESSITY FOR CELL-SITE AND GPS ORDER............................................39

VI.   CONCLUSION......................................................................................................41




                                                              ii
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 4 of 44 Page ID #:4




                                           AFFIDAVIT

I, Michael Torbic, being duly sworn, declare and state as follows:

                                     I.   INTRODUCTION
       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”), and have

been so employed since January 2016. I am a Certified Public Accountant (“CPA”), who prior

to becoming a Special Agent with the FBI had been employed as a Financial Analyst and

Auditor. I am currently a member of the FBI’s public corruption squad in Los Angeles,

California. The public corruption squad is responsible for conducting investigations of

violations of criminal laws involving elected and non-elected public officials and major frauds

committed against the United States.

       2.      Since joining the FBI in January of 2016, I have received training in the

investigation of violations of criminal law, such as public corruption, fraud against the

government, money laundering, and financial crimes, including several hundred hours of formal

training at the FBI Training Academy in Quantico, Virginia. During the time that I have been

employed by the FBI, I have conducted and participated in numerous investigations relating to

the corruption of public officials, bribery, money laundering, and major frauds against the United

States. I have participated in many aspects of criminal investigations including the issuance of

subpoenas, reviewing evidence, conducting physical and electronic surveillance, working with

informants, and the execution of search and arrest warrants. I have interviewed and/or debriefed

defendants, informants, and other witnesses who had personal knowledge regarding the

investigations in which I have been involved. I have also worked closely with, and learned from,

other senior FBI Agents who are experienced in investigating criminal cases, conducting arrests,

executing search warrants, and identifying, acquiring, and seizing evidence in criminal cases. I

have also served as an affiant for affidavits in support of criminal complaints, search warrants,

seizure warrants, and arrest warrants.




                                                 1
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 5 of 44 Page ID #:5




                               II.   PURPOSE OF AFFIDAVIT
       3.      This affidavit is made in support of an application for a criminal complaint and

arrest warrant for BABAK BROUMAND for a violation of 18 U.S.C. § 371 (conspiracy) (the

“Target Offense”) for his participation in a conspiracy to commit bribery of a public official in

violation of 18 U.S.C. § 201, which occurred between in or about January 2015 and to at least

the end of September 2017.

       4.      The facts set forth in this affidavit are based upon my personal observations, my

training and experience, my review of reports prepared by other law enforcement agents,

including Special Agents from FBI, the Internal Revenue Service Criminal Investigations (“IRS-

CI”), the Department of Justice Office of Inspector General (“DOJ OIG”), my discussions with

IRS-CI and DOJ OIG Special Agents. This affidavit is intended to show merely that there is

probable cause to believe BROUMAND committed the Target Offense and does not purport to

set forth all my knowledge of the investigation into this matter. Unless specifically indicated

otherwise, all conversations and statements described in this affidavit are related in substance

and in part only.

                          III. SUMMARY OF PROBABLE CAUSE
       5.      During all times relevant to this affidavit:

               a.      BROUMAND was employed as a Special Agent with the FBI, until his
retirement in January 2019. BROUMAND was responsible for National Security investigations;

specifically BROUMAND was responsible for recruiting human intelligence (“HUMINT”)

sources for the FBI. As a Special Agent with the FBI, BROUMAND was a public official.

               b.      Cooperating Witness 1 (“CW1”) 1 is believed by the FBI to have occupied

a role in a criminal enterprise that included suspected members and associates of an Armenian

       1
         According to NCIC, CW1’s criminal history includes charges for Speeding, Reckless
Driving, Failure to Provide Financial Responsibility, and Driving Under the Influence. CW1 has
agreed to cooperate in this investigation because CW1 would like the federal government to take
CW1’s cooperation into consideration when addressing certain illegal acts CW1 has admitted to
committing. CW1 has acknowledged making bribe payments to BROUMAND, as is outlined


                                                  2
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 6 of 44 Page ID #:6




Organized Crime group based in Southern California, including Levon Termendzhyan

(“Termendzhyan”) 2; Felix Cisneros (“Cisneros”) 3, then a Special Agent with Homeland Security




further in this affidavit. CW1 has also admitted to additional illegal acts, including making bribe
payments to another Federal Agent, engaging in a credit card fraud conspiracy, and participating
in unlicensed marijuana cultivation. CW1 has also lied to Federal Agents in relation to this, and
other, investigations, but then later admitted that CW1 lied and withheld information.
Throughout CW1’s cooperation, Agents believe CW1 may have withheld information regarding
CW1’s relationship with BROUMAND and others, as well as CW1’s involvement in other
potential illegal acts. The FBI has not paid CW1 any money, nor has the FBI promised to pay
any money in exchange for CW1’s cooperation. Despite the belief that CW1 may be
withholding information, I have found the information CW1 has provided about BROUMAND
that is detailed in this affidavit to be reliable, because much of it has been corroborated by our
investigation. Additionally, although it appears CW1 is withholding some information, I have no
reason to believe that CW1 is fabricating the incriminating information that CW1 has provided to
the FBI. CW1 has agreed, in principal to sign a plea agreement admitting, among other things,
his guilt to bank fraud, false statements, and his bribery of BROUMAND and another Federal
Agent, while both were still Federal Agents. No plea agreement has been publicly filed.
       2
          On August 1, 2018, Termendzhyan, also known as Lev Aslan Dermen, was indicted in
the District of Utah on nine counts of 26 U.S.C § 7206(2) (aiding and assisting in the filing of a
false return), five counts of 18 U.S.C. § 1956 (money laundering), and one count of 18 U.S.C. §
1957 (money laundering). (U.S. v. Termendzhyan, CR 18-365-JNP.) On or about August 27,
2018, Termendzhyan was arrested by Federal Agents assigned to the FBI’s Los Angeles
Eurasian Organized Crime Task Force (“LA-EOCTF”). On March 16, 2020, following a jury
trial, Termendzhyan was convicted in the District of Utah on one count of 18 U.S.C § 1349
(conspiracy), seven counts of 18 U.S.C. § 1956 (money laundering), and two counts of 18 U.S.C.
§ 1957 (money laundering). Termendzhyan has not yet been sentenced.
       3
         On March 22, 2017, Cisneros was arrested on a complaint for violating 8 U.S.C. § 1327
(aiding and assisting an inadmissible alien to enter the United States). On April 21, 2017,
Cisneros was indicted on one of 18 U.S.C. § 1327. On December 19, 2017, the grand jury
returned a superseding indictment charging Cisneros with seven counts: one count of 18 U.S.C. §
371 (conspiracy); one count of 18 U.S.C. § 205(a)(2), 216(a)(2) (public official prosecuting
claim affecting the United States); one count of 18 U.S.C. § 1519 (falsification of records); two
counts of 18 U.S.C. § 1001 (false statements); and two counts of 18 U.S.C. § 1512(b)(3)
(tampering with a witness, victim, or informant and obstruction of justice). (U.S, v. Felix
Cisneros, Jr., CR 17-0229-CAS.) On April 23, 2018, following a jury trial, Cisneros was
convicted of one count of 18 U.S.C. § 205(a)(2), 216(a)(2) (public official prosecuting claim
affecting the United States); one count of 18 U.S.C. § 1519 (falsification of records); and two
counts of 18 U.S.C. § 1001 (false statements). In November 2018, Cisneros was sentenced to
twelve months and one day in the custody of the Bureau of Prisons.


                                                3
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 7 of 44 Page ID #:7




Investigations (“HSI”); and John Balian (“Balian”) 4, then a Detective with the Glendale Police
Department.

       6.      In violation of 18 U.S.C. 371 (conspiracy), starting in approximately January

2015, and continuing through at least late September 2017, BROUMAND began participating in

a conspiracy with CW1 to commit bribery of a public official in violation of 18 U.S.C. § 201. In

exchange for bribe payments averaging approximately $10,000 a month from CW1,

BROUMAND and CW1 conspired and agreed that BROUMAND would perform official acts

and omit to do acts, query law enforcement databases, provide CW1 with non-public law

enforcement sensitive information and protection, and assist CW1 in CW1’s efforts to evade

detection by law enforcement. This conduct violated BROUMAND’s duties and responsibilities

as a federal law enforcement officer, including the duty to faithfully investigate potential

criminal activity. On or about September 30, 2015, BROUMAND deposited a $30,000 bribe

payment from CW1, in the form of a cashier’s check. This check represented approximately

three (3) months of bribe payments from CW1 in exchange for BROUMAND querying law

enforcement databases and providing CW1 with non-public information.

       7.      In order to conceal the true source and purpose for the payment, the cashier’s

check from CW1 was purchased from an account in the name of Andor’e Inc., a hair salon to

which CW1 had lent money. BROUMAND further concealed the true source and purpose for

the payment by depositing the cashier’s check into his Love Bugs business checking account,

which was also a hair salon-related business. After transferring the bribe proceeds through

several accounts, BROUMAND used the bribe money as part of the down payment for a second

residence in the Lake Tahoe, California area.



       4
          On May 15, 2018, Balian was arrested on a complaint for violating 18 U.S.C. § 1001
(false statements). Balian was charged by information and entered a plea of guilty to one count
of 18 U.S.C. § 666 (federal program bribery), one count of 18 U.S.C. § 1512(c)(2) (obstruction
of justice), and one count of 18 U.S.C. § 1001 (false statements). (U.S. v. John Saro Balian, CR
18-345-JFW.) In March 2019, Balian was sentenced to 21 months in the custody of the Bureau
of Prisons and three years of supervised release.

                                                 4
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 8 of 44 Page ID #:8




       8.      There is also probable cause to believe that BROUMAND committed one or more

violations of the following: 18 U.S.C. § 201(b)(2)(A) and (C) (bribery of public officials); 18

U.S.C. § 371 (conspiracy); 18 U.S.C. § 1001 (false statement to a government agency); 18

U.S.C. § 1014 (false statement on loan application); 18 U.S.C. § 1956 (laundering of monetary

instruments); 18 U.S.C. § 1957 (engaging in monetary transactions in property derived from

specified unlawful activity); 18 U.S.C. §§ 1510, 1512, 1519 (obstruction of justice); 26 U.S.C.§

7206(1) (subscribing to a false tax return); and 31 U.S.C. § 5324 (structuring financial

transactions to avoid reporting requirements).

                         IV. STATEMENT OF PROBABLE CAUSE
       A.      Background on BROUMAND
       9.      BROUMAND was employed by the FBI as a Special Agent in the San Francisco

Division. BROUMAND had been an FBI Special Agent since 1999, until his retirement on

January 4, 2019. 5 According to his employment records with the FBI, BROUMAND attended

Western State University College of Law in Fullerton, California and graduated in 1993.

       10.     According to publicly available records, since 2007 BROUMAND and his wife

have owned a lice treatment salon named Love Bugs, LLC (“Love Bugs”). According to Love

Bugs’ website (lovebugslice.com), Love Bugs will discretely take care of your lice problem with

a non-toxic lice-removal technique and special formula that was invented in Greece over 40

years ago. Love Bugs’ had operated two locations, the Lafayette Salon located at 3746 Mount

Diablo Boulevard, Suite 122, Lafayette, California 94549 (the “Lafayette Salon”) and the Los

Altos Salon located at 1148 Riverside Drive, Los Altos, California 94024 (the “Los Altos

Salon”).

       11.     According to publicly available records, the Los Altos Salon had been operating

without an appropriate license from the city of Los Altos and ceased operations in approximately

       5
          BROUMAND was placed on administrative leave from the FBI in December 2018,
after search warrants were executed at his residence and businesses. BROUMAND formally
retired on January 4, 2019, after becoming eligible to retire from the FBI with full retirement
benefits.

                                                 5
  Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 9 of 44 Page ID #:9




June 2019. According to documents filed with the California Secretary of State, in January

2020, the Lafayette Salon began operating under a new name, LoveBugs Lice Removal LLC,

and listed a former employee of BROUMAND’s, EL, as the organizer and agent for service. I

believe that BROUMAND closed the Love Bugs Los Altos Salon and reorganized the Lafayette

Salon after search warrants were executed at the businesses, 6 because BROUMAND knew that
Love Bugs had been used by BROUMAND to launder bribe payments from CW1 and

underreport his income to the IRS, as detailed further in this affidavit. Additionally,

BROUMAND used Love Bugs to pay for a significant amount of personal expenses. 7

       12.     Based upon my review of the relevant records, as well as my discussions with

other members of the investigative team who have also reviewed records in this case,

BROUMAND appears to have been in charge of much of the finances for Love Bugs.

BROUMAND prepared the tax returns and sales and use tax returns for Love Bugs.

BROUMAND also appears to have conducted most of the banking activity, including making

deposits and writing checks.

       13.     BROUMAND and his wife also owned a real estate business named Killer Bees

Management, LLC (“Killer Bees”), and a yacht chartering business named MB3 Investments,

LLC (“MB3”).


       6
     On December 8, 2018, search warrants were executed by the IRS, FBI, and DOJ OIG at
BROUMAND’s residence, the Love Bugs Los Altos Salon, and the Love Bugs Lafayette Salon.
       7
         An analysis of Love Bugs’ American Express account number ending 1001 between
November 2015 and October 2018 revealed over 60% (approximately $300,000) of the charges
were personal expenses. An analysis of Lovebugs’ JPMorgan Chase Credit Cards accounts
ending in 0750, 3308, and 9066 between November 2011 and September 2018 revealed
approximate 68% (approximately $329,000) of the charges were personal expenses.
Additionally, analysis of LoveBugs’ JPMorgan Chase Business Select Checking account ending
in 8236 between January 2015 and October 2017 revealed approximately 20% (approximately
$387,000) of the expenditures were personal expenses. Personal expenditures from these
accounts include payments to Obexer’s Boat Company, Southern California Motorcycles, Cole
European, Sonnen Porsche, Beverly Hills Watch Company, Santia Exquisite Jewelry, Canyon
Sports, Atlantic Firearms, Neiman Marcus, Nordstrom, Coach, Lululemon, Yu’s Martial Arts,
Southwest Airlines, Homewood Mountain Resort, Sheraton Kauai Resort, and Flemings
Restaurant.

                                                 6
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 10 of 44 Page ID #:10




       B.      BROUMAND’s Corrupt Relationship with CW1
       14.     According to CW1, BROUMAND first met CW1 in September 2014 at the Grand

Havana Room, a private, members-only cigar lounge in Beverly Hills, California. BROUMAND

was introduced to CW1 by a partner at CW1’s law firm, who had attended law school with

BROUMAND. CW1 told me that in November 2014, CW1 hosted a party at a house CW1 had

rented in Las Vegas, Nevada, and invited BROUMAND as a guest. CW1 noticed that

BROUMAND had expensive tastes in terms of his style, his interests, and his affinity for luxury

goods and services. CW1 noted that BROUMAND was wearing a gold Rolex watch and Gucci

belt. According to CW1, CW1 saw this as an opportunity to recruit BROUMAND to help CW1
evade detection by law enforcement. CW1 began cultivating a friendship with BROUMAND,

and the relationship turned corrupt in the beginning of 2015. It was during these conversations

that CW1 informed BROUMAND that CW1 was engaged in criminal activity. CW1 told me

that during a discussion regarding BROUMAND’s FBI salary, CW1 asked BROUMAND if he

would be willing to “do something on the side” to make some additional money, an offer that

BROUMAND accepted. Starting in early 2015, CW1 began paying BROUMAND

approximately $10,000 per month for information and protection. CW1 initially asked

BROUMAND to search CW1’s name in a FBI database. If there was law enforcement interest

in CW1, CW1 requested that BROUMAND attempt to “defuse” the interest in CW1.

       15.     CW1 said that he and BROUMAND originally devised a scheme in which

BROUMAND would document CW1 as an official FBI source. BROUMAND would then be

able to falsely justify his queries in law enforcement databases as official FBI business.

BROUMAND informed CW1 that he was in the process of getting CW1 approved as a FBI

source, but BROUMAND had learned that there had been an investigation into CW1 in 2008 or

2009. BROUMAND told CW1 that the FBI had been looking at CW1 and CW1’s spouse for

credit card fraud, but the investigation had been closed and the FBI Case Agent had transferred

offices. CW1 told me that the existence of the investigation corroborated the value of the

information that BROUMAND was providing to CW1, as there was no way BROUMAND could


                                                 7
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 11 of 44 Page ID #:11




know about the specific credit card account and investigation without looking up CW1 in a law

enforcement database.

       16.     The FBI has audited BROUMAND’s use of FBI databases. Based upon these

results, I determined that on or about January 8, 2015, BROUMAND queried CW1 in the FBI

case management database. BROUMAND’s query returned positive results in a FBI Los

Angeles control file. The documents viewed in the control file by BROUMAND included

allegations of credit card fraud committed by CW1, information that BROUMAND appears to

have shared with CW1.

       BROUMAND Queries Termendzhyan in FBI Database and Arranges Travel to Los
       Angeles Allegedly to Introduce Los Angeles Special Agent to a Potential Source

       17.     According to CW1, in approximately January 2015, CW1 requested that

BROUMAND query Termendzhyan in the FBI database. CW1 had been working for and with

Termendzhyan. Based on my review of an audit of the FBI’s case management database, on

January 8, 2015, BROUMAND queried Termendzhyan, CW1, and the names of several other

individuals and entities associated with Termendzhyan in the FBI database. BROUMAND’s

searches in the FBI database returned positive results in a FBI Los Angeles case file that named

Termendzhyan as the main subject of the investigation. According to toll records I have

obtained and reviewed, BROUMAND called CW1 within an hour of accessing the

Termendzhyan case file. According to CW1, BROUMAND informed CW1 that his query for

Termendzhyan in the FBI database had “rang all the bells,” and that BROUMAND needed to

come to Los Angeles to clear it up.

       18.     I have reviewed BROUMAND’s FBI emails. On January 9, 2015, BROUMAND

emailed the Case Agent for the FBI Los Angeles investigation on Termendzhyan, FBI SA

Stephen Kusin. In the email, BROUMAND requested a call with SA Kusin and told SA Kusin

that he was a HUMINT Agent in San Francisco, who had information that might be useful

regarding the Termendzhyan investigation. SA Kusin agreed to meet with BROUMAND and a

potential source in Los Angeles. The database audit shows that BROUMAND continued to



                                                8
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 12 of 44 Page ID #:12




access the FBI case file on Termendzhyan between January 8, 2015 and January 26, 2015, and

exchanged numerous phone calls and text messages with CW1. Based upon my review of his

records, I know that on January 22, 2015, BROUMAND submitted a payment request to the FBI

for an advance of funds to cover the costs of flying to Los Angeles for the stated purpose of

“assist[ing] LA division with source recruitment.”

       19.     According to travel records submitted to the FBI, BROUMAND flew from

Oakland, California to Los Angeles, California on Friday, January 30, 2015, and took an Uber

black car from Los Angeles International Airport (“LAX”) to the FBI Los Angeles Field Office

(“LAFO”). SA Kusin informed me that he met BROUMAND in a cafeteria near the FBI LAFO.
SA Kusin noted that BROUMAND did not look like an FBI Agent and was wearing a three-

piece suit and jewelry, including a bracelet and cufflinks. SA Kusin had originally intended to

go with BROUMAND to meet the potential source that had information regarding

Termendzhyan. However, BROUMAND told SA Kusin that he would meet with the potential

source first and call SA Kusin if the potential source was willing to meet with SA Kusin. SA

Kusin told me that after not hearing from BROUMAND for several hours, he began calling

BROUMAND, but all of his calls went unanswered. SA Kusin received a call from

BROUMAND in the late afternoon. BROUMAND informed SA Kusin that he was already at

LAX getting ready to fly back to San Francisco, and that the potential source did not want to

cooperate with the FBI, because they feared that their name would get out in the community.

       20.     I learned from my conversations with CW1 that on this trip, after BROUMAND’s

meeting with the Los Angeles FBI, CW1 picked BROUMAND up from the FBI LAFO in

CW1’s Bentley. CW1 believed BROUMAND met with the Los Angeles FBI to clear up the

issues that resulted from BROUMAND having queried Termendzhyan in the FBI database.

BROUMAND informed CW1 that it was a “tough one” and that they had “barely got away with

this one” as the Los Angeles FBI wanted to talk to CW1. CW1 told me that CW1 was willing to

meet with the Los Angeles FBI regarding Termendzhyan, but BROUMAND advised CW1 to not

meet with FBI. BROUMAND did not provide CW1 with specific details regarding the


                                                9
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 13 of 44 Page ID #:13




investigation into Termendzhyan, but BROUMAND told CW1 that CW1 should stay away from

Termendzhyan. According to CW1, despite BROUMAND never explicitly stating that

Termendzhyan was the subject of a FBI investigation, CW1 understood BROUMAND’s warning

to stay away from Termendzhyan to mean that Termendzhyan was under FBI investigation.

        21.    CW1 told me that CW1 often paid for hotel rooms for BROUMAND to stay at

when he was in Los Angeles, but did not recall if BROUMAND had stayed in Los Angeles on

this specific trip. CW1 recalled paying for BROUMAND to stay at the Montage Beverly Hills

Hotel, the Beverly Wilshire Hotel, the Beverly Hills Hotel, and CW1 also had a penthouse in

Beverly Hills where BROUMAND stayed. According to hotel records I obtained, CW1 paid
$1,505.48 for a hotel room at the Montage Beverly Hills Hotel from January 30, 2015 until

February 1, 2015, and listed BROUMAND as an accompanying guest on the reservation.

According to cell-site data from BROUMAND’s FBI cell phone, which I also obtained and

analyzed, BROUMAND stayed in Beverly Hills, California from Friday, January 30, 2015 until

Sunday, February 1, 2015 when BROUMAND flew back to Oakland, California.

        22.    According to payment requests submitted to the FBI, which I have reviewed,

BROUMAND flew from Oakland to Los Angeles on January 30, 2015, with a return flight from

Los Angeles to Oakland on February 1, 2015. BROUMAND also submitted to the FBI for

reimbursement, the cost of the Uber black car that BROUMAND took from LAX to the FBI

LAFO. However, BROUMAND did not submit any other payment requests or receipts for

expenses incurred as a result of this trip, to include lodging and additional transportation costs.

BROUMAND did not have any other documented official FBI travel to Los Angeles after this

date.

        BROUMAND Meets with Termendzhyan
        23.    After BROUMAND queried Termendzhyan in the FBI Database, and advised

CW1 that Termendzhyan was under investigation, CW1 orchestrated a meeting between

BROUMAND and Termendzhyan. CW1 did not recall if the meeting was on this same trip, but

CW1 knew that it occurred within days or weeks of BROUMAND learning of the FBI


                                                 10
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 14 of 44 Page ID #:14




investigation into Termendzhyan, and after BROUMAND had met with the Los Angeles FBI

Case Agent investigating Termendzhyan. BROUMAND, CW1, and Termendzhyan met at Ten

Pounds Bar in the Montage Beverly Hills Hotel. CW1 believed that Termendzhyan was

intimidated that CW1 had corrupted an FBI Special Agent, as Termendzhyan had a history of

corrupting law enforcement, but according to CW1, did not have a FBI Special Agent on his

“payroll.” CW1 told me that Termendzhyan attempted to “emotionally destroy” BROUMAND,

and had told BROUMAND that he could take his gun and badge away. CW1 told me that

Termendzhyan paid for the meal.

       CW1 Purchases Ducati Motorcycle for BROUMAND in Exchange for Information on a
       Qatari Royal Family Member

       24.     CW1 told me that he provided security for a Qatari Royal Family Member

(“QRFM”), and assisted QRFM, who had a drug habit, purchase Demerol, a Schedule II narcotic

controlled substance. CW1 said he first met QRFM in early April 2015. After this meeting,

CW1 requested that BROUMAND research QRFM, because CW1 wanted to know if QRFM

was associated or involved in terrorism, terrorism financing, or was on a terrorist watch list.

CW1 informed BROUMAND that CW1 was planning to purchase narcotics for QRFM.

According to CW1, CW1 had possession of QRFM’s passport and visa, as CW1 was also

assisting QRFM purchase and insure a Lamborghini and a Porsche 911. CW1 told me that CW1

showed the passport to BROUMAND, and BROUMAND took a picture of the passport. While

CW1 was listening, BROUMAND also spoke with QRFM on the telephone, and they discussed

a New York FBI Special Agent that BROUMAND and QRFM both knew. BROUMAND later

told CW1 that QRFM was “okay,” which CW1 understood to mean that QRFM was not

associated with terrorism and had not attracted the attention of law enforcement. As such, CW1

could engage in illicit business with QRFM without fear of attracting the attention of law

enforcement. (Investigators have not yet located a search for QRFM, but have not audited all

possible databases to which BROUMAND had access, to include watch lists.)




                                                 11
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 15 of 44 Page ID #:15




       25.    CW1 said that he used money earned from CW1’s business dealings with QRFM

to purchase a Ducati motorcycle for BROUMAND as a “bonus” for looking up and determining

if QRFM had attracted the attention of law enforcement. On or about April 29, 2015, CW1,

BROUMAND, and CW1’s friend, went to Beverly Hills Ducati to purchase the motorcycle for

BROUMAND. I have reviewed dealership records, which show that CW1 purchased a 2015

Ducati Panigale motorcycle, helmet, and accessories totaling approximately $36,000, which

CW1 charged to a credit card. The dealership records contain a photocopy of BROUMAND’s

driver’s license and the purchase paperwork contains BROUMAND’s name. According to

California Department of Motor Vehicle (“DMV”) records, BROUMAND registered the
motorcycle in his name, on or about May 13, 2015.

       26.    After becoming aware of the presence of a DOJ OIG investigation 8 into
BROUMAND, on or about October 20, 2018, BROUMAND sold the Ducati Panigale

motorcycle to Ace Motorsports. I believe that BROUMAND sold the Ducati motorcycle after

becoming aware of the DOJ OIG investigation in an attempt to further conceal the nature of his

corrupt relationship with CW1, because BROUMAND knew that the Ducati motorcycle was a

bribe payment from CW1 for information BROUMAND provided regarding QRFM.

       BROUMAND Provides CW1 Information on Solakyan

       27.    CW1 informed me that CW1 had asked BROUMAND to look up another member
at the Grand Havana Room, Sam Solakyan. (“Solakyan”). According to CW1, BROUMAND

told CW1 to “stay away from him” and that Solakyan was “trouble.” Based on my review of an

audit of the FBI’s case management database, on December 8, 2015, BROUMAND queried

Solakyan in the FBI database. BROUMAND’s search returned positive results in a San Diego




       8
          On or about March 12, 2018, BROUMAND was served with notice from the DOJ OIG
that an investigation had been initiated regarding allegations that BROUMAND misused
government property, lacked candor to the FBI, and omitted information in his SFDF (Security
Financial Disclosure Form). The investigation was then administrative in nature.


                                              12
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 16 of 44 Page ID #:16




FBI Healthcare Fraud investigation involving Solakyan. 9 CW1 told me that BROUMAND was
right, and that Federal Agents arrested Solakyan in September 2018, validating the information

that BROUMAND had provided CW1.

       BROUMAND Queries Additional Names in FBI Database

       28.     According to CW1, BROUMAND queried between ten (10) and twenty (20)

names in law enforcement databases at CW1’s request. CW1 typically provided BROUMAND

with the names of individuals that CW1 intended to engage in a business relationship with, to

include both legal and illegal businesses. BROUMAND would not typically provide detailed

information regarding these individuals and would only inform CW1 if they were “okay” or if

CW1 should “stay away” from that person, which CW1 understood to mean that the individual

had attracted the attention of law enforcement.

       29.     According to CW1, CW1 asked BROUMAND to look up an associate of

Termendzhyan, BK. Based on my review of an audit of the FBI’s case management database, on

four (4) separate occasions (January 8, 2015; December 23, 2015; May 23, 2016; and May 24,

2016), BROUMAND queried BK in the FBI case management database. On or about December

7, 2015, BROUMAND queried an associate of CW1, CP, in the FBI case management database.

CW1 told me that CW1 thought CP may have attracted the attention of law enforcement, and

asked BROUMAND to run CP in a law enforcement database. BROUMAND told CW1 that CP

“was okay,” which CW1 understood to mean that CP had not attracted the attention of law

enforcement.

       30.     As a result of my conversations with CW1, I understand that after

BROUMAND’s FBI parking placard was seized from CW1 by Burbank PD, as detailed below in

paragraphs 31 to 34, BROUMAND and CW1 agreed that if their relationship was ever


       9
         On September 25, 2018, Solakyan, was indicted in the Southern District of California
on one count of 18 U.S.C § 1349 (conspiracy) and eleven counts of 18 U.S.C. § 1341, 1346 & 2
(honest services mail fraud & aiding and abetting). (U.S. v. Solakyan, CR 18-4164-BAS.) On or
about September 26, 2018, Solakyan was arrested by Special Agents of the FBI. Solakyan is
currently awaiting trial in the Southern District of California.

                                                  13
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 17 of 44 Page ID #:17




questioned by law enforcement, they would say that CW1 was providing “intelligence”

information to BROUMAND, in order to justify the queries being run by BROUMAND.

According to CW1, BROUMAND told CW1 that if questioned, CW1 should name BK, CP, and

QRFM, and say that CW1 was providing BROUMAND with information about these

individuals. CW1 told me that CW1 had no intention of providing “intelligence” information to

the FBI.

       BROUMAND Gives CW1 FBI Parking Placard
       31.     According to a report from the Burbank, California Police Department (“PD”), on

or about February 27, 2016, Burbank PD conducted a traffic stop on a black Cadillac Escalade

for not having any license plates in violation of California Vehicle Code § 5200 (a). CW1 was

riding in the front passenger seat of the vehicle. CW1 and the driver both acknowledged the car

had no license plates. CW1 told the officer that the reason the car did not have license plates is

that it was sometimes used for law enforcement purposes. In response to the officer’s question

about what type of law enforcement purposes, CW1 handed the officer a FBI parking placard

containing the FBI seal, which had BROUMAND’s FBI business card taped to the back.

According to the Burbank PD report, CW1 told the officer that BROUMAND had used the car a

couple of days earlier and had left the placard behind. When the officer asked CW1 if CW1 had

made an attempt to return the placard, CW1 responded “not my problem.”

       32.     According to the report from Burbank PD, the Burbank PD officer called the

number on BROUMAND’s business card, which was the number for the FBI San Francisco

Field Office (“SFFO”), and spoke to FBI SA Jeffrey Chisholm. According to the report from

Burbank PD, SA Chisholm then spoke to BROUMAND, who confirmed he had left the placard

behind. Based on my review of an interview report with BROUMAND’s supervisor,

Supervisory Special Agent (“SSA”) Jonathan Kelly, BROUMAND informed SSA Kelly that he

had given CW1 the placard but did not provide a clear explanation as to the reason

BROUMAND gave the placard to CW1. According to interview report, BROUMAND told SSA

Kelly that he was off-duty, visiting a family friend in Los Angeles, HM, who had introduced


                                                14
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 18 of 44 Page ID #:18




BROUMAND to CW1. BROUMAND claimed that he was using his relationship with HM to

develop potential sources for the FBI.

       33.     CW1 admitted to me that CW1 lied to Burbank PD officers regarding the reason

the FBI placard was in his vehicle. CW1 told me that BROUMAND had in fact given CW1 the

FBI parking placard. According to CW1, CW1 had told BROUMAND that CW1 loved how

Federal Agents could park wherever they wanted, and how CW1 wished CW1 could do the

same. The next time BROUMAND visited Los Angeles, he gave the FBI parking placard to

CW1. According to CW1, CW1 displayed the FBI placard on the dashboard of his vehicle once

at the parking garage of the Grand Havana Room, where BROUMAND had given CW1 the
placard, and once for approximately three (3) hours at a red curb in front of CW1’s office.

       34.     CW1 admitted to me that CW1 had intentionally displayed the FBI parking

Placard to the Burbank PD officer in an attempt to use the FBI parking placard to get out of

trouble. According to CW1, CW1 called BROUMAND while the Burbank PD Officers were

still present. CW1 said that CW1 had informed BROUMAND that the officers had taken the

placard, and BROUMAND told CW1 to have the officers call him. The Burbank PD officer did

not call BROUMAND, and FBI leadership in Los Angeles and San Francisco were notified that

BROUMAND’s FBI parking placard had been seized from CW1.

       BROUMAND Obstructs the Cisneros Investigation
       35.     Based on my review of an audit of the FBI’s case management database, on May

23, 2016, BROUMAND queried the names of individuals and entities associated with CW1 and

Termendzhyan in the FBI case management database, and again accessed the Termendzhyan

case file. On May 24, 2016, BROUMAND again queried the names of additional CW1 and

Termendzhyan associates, including Cisneros, the-then HSI special agent referenced in footnote

3. BROUMAND’s query of Cisneros returned positive results on a restricted FBI Los Angeles

case file that named Cisneros as the main subject of the investigation. Despite the Cisneros case

file being restricted, BROUMAND was still able to view certain case information, and identify




                                               15
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 19 of 44 Page ID #:19




FBI SA Brian Adkins as the FBI Case Agent. 10 BROUMAND continued to access the FBI case
files on Termendzhyan and Cisneros through June 24, 2016.

       36.     Based on my review of BROUMAND’s FBI emails, I know that on May 24,

2016, BROUMAND sent an email to FBI SA Adkins, who responded to BROUMAND on May

26, 2016. SA Adkins informed me that he spoke with BROUMAND via telephone on May 26,

2016. BROUMAND informed SA Adkins that he had attended a party in Beverly Hills,

California the previous weekend to celebrate CW1 passing the California State Bar Exam.

BROUMAND identified CW1 as a personal friend and a close associate of Termendzhyan.

According to SA Adkins, BROUMAND noted that Termendzhyan was an individual alleged to

be involved in Armenian Organized Crime. BROUMAND stated that CW1 had attempted to

broker a meeting between BROUMAND and Termendzhyan in the past so that BROUMAND

could recruit Termendzhyan as a FBI source.

       37.     BROUMAND informed SA Adkins that he ran into Cisneros at the party, and

without prompting, described Cisneros as the target of SA Adkins’ investigation. BROUMAND

explained that Cisneros was a friend of CW1. According to SA Adkins, BROUMAND claimed

to have witnessed Cisneros consume multiple alcoholic drinks while at the party. When asked

by SA Adkins if he had witnessed Cisneros do or say anything that appeared suspicious,

BROUMAND replied that there was nothing specific that Cisneros had said or done.

BROUMAND stated that he had a “sixth sense” about Cisneros that caused him to search

Cisneros’ name in the FBI case management database, which resulted in positive hits on the SA

Adkins’s restricted FBI case file.

       10
          Restricted FBI case files are returned in search results with the FBI case number, the
serial number of the document that returned the positive result, the type of document, and the
date the document was serialized, but the title and the content of the document are replaced with
“RESTRICTED – Access Denied.” I understand that BROUMAND would have been able to
deduce that Cisneros was the subject of the FBI investigation, as the search result would have
returned numerous serials in the restricted case file, including the first serial, which is almost
always a case opening document. Additionally, the initial digits in the FBI case number for the
Cisneros investigation indicated that the investigation was focused on “Corruption of Federal
Public Officials – Border Related – Other” matters.


                                                16
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 20 of 44 Page ID #:20




       38.     According to SA Adkins, BROUMAND did not articulate a reasonable basis for

conducting a search of Cisneros in the FBI database. SA Adkins became increasingly suspicious

of BROUMAND’s motives in calling him, and at the end of their telephone conversation, SA

Adkins asked BROUMAND to draft a FD-302 11 regarding his interaction with Cisneros. Based
on my review of the Cisneros’ case file, instead, one month later, on or about June 24, 2016,

BROUMAND drafted a FD-1057 12 regarding his interactions with Cisneros at the party and

serialized (officially added) the document to SA Adkins’s case file. According to SA Adkins,

BROUMAND’s failure to draft a FD-302 regarding the interaction with Cisneros also raised SA

Adkins’ suspicions.

       39.     SA Adkins told me that he believed BROUMAND might have had at least two

reasons for calling him. The first reason being that BROUMAND was aware that his search of

Cisneros and accessing SA Adkins’s case file would leave a record of that search, so the call was

an attempt to cover his tracks and make up an excuse for having made the database inquiry. The

second reason being that BROUMAND was seeking confirmation that Cisneros was in fact the

target of SA Adkins’ investigation, and that BROUMAND was attempting to elicit additional

information regarding, Cisneros, CW1, Termendzhyan, and others from SA Adkins.

       40.     SA Adkins also stated that there was a negative impact on his investigation. First,

due to his suspicions about BROUMAND’s interest in the investigation, the undercover aspect of

the investigation was temporarily paused and slowed down due to safety concerns for the

Confidential Human Source (“CHS”). SA Adkins also said that Cisneros’ demeanor changed in

between two undercover meetings with the CHS. Prior to his contact with BROUMAND, on

May 12, 2016, there had been a meeting between a CHS and Cisneros in which Cisneros made

several incriminating statements.

       41.     I have reviewed a translated transcription of the May 12, 2016 meeting between

Cisneros and the CHS, which was conducted in a mix of Spanish and English. The CHS, who

       11
         An FD-302 is a FBI report of investigative information that may become testimony.
       12
         An FD-1057 is an electronic communication typically used by the FBI to document
administrative matters associated with an investigation.

                                               17
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 21 of 44 Page ID #:21




had immigration issues, stated that Cisneros had previously assisted the CHS in reentering the

United States from Mexico at the request of Termendzhyan. During this meeting the CHS was

again seeking Cisneros’ assistance in crossing the border. Cisneros stated that “…it won’t

happen the same way. There’s too much fucking dirt after the fact. You see what I’m saying?

And that’s the problem.” I understand this to mean that Cisneros was willing to again assist the

CHS in reentering the United States from Mexico, but that they would need to use a different

method than the previous time, as they had generated too much attention. Later in the

conversation Cisneros suggests that they can fly the CHS across the border in a helicopter

instead.
       42.     At the end of the conversation between the CHS and Cisneros on May 12, 2016,

Cisneros tells the CHS, “And then, fool, I’m telling you…if you say something, dude, I’ll bury

you, dude, honestly…I mean, [I swear it] on my mother.” I understand this statement to reflect

Cisneros’ consciousness of guilt in agreeing to assist the CHS in traveling to and from Mexico. I

believe that Cisneros was aware that he had violated the law by assisting the CHS in crossing the

border and was agreeing to do so again, and that Cisneros was threatening the CHS in order to

silence the CHS from telling anyone about Cisneros’ illegal conduct.

       43.     The next meeting between the CHS and Cisneros occurred on August 30, 2016,

after the pause in the investigation following BROUMAND’s telephone conversation with SA

Adkins. I was part of the surveillance team that observed the meeting between the CHS and

Cisneros, and also reviewed a translated transcription of the August 30, 2016 meeting that was

conducted in a mix of Spanish and English. There were two significant conclusions, among

others, to be drawn from the meeting. First, Cisneros was engaging in counter-surveillance

during the meeting. Second, Cisneros’ behavior was markedly different from the May 12, 2016

meeting.

       44.     I have reviewed the surveillance notes and spoken with the agents who were

surveilling the parking lot of the meeting and believe that Cisneros was engaging in counter-

surveillance during the meeting. Specifically, agents noticed a silver colored Chevrolet Traverse


                                               18
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 22 of 44 Page ID #:22




with no license plates drive around the entire parking lot, and then exit the parking lot without

stopping several minutes prior to the arrival of the CHS and Cisneros. Cisneros arrived at the

location after the CHS, drove around the parking lot, and parked on the south side of the parking

lot near a surveillance vehicle. Cisneros departed the parking lot minutes later without exiting

the vehicle. Approximately two (2) minutes later, Cisneros returned to the parking lot, drove

around the lot, and parked on the west side of the lot. Cisneros sat in his vehicle for several

minutes and then drove from his spot on the west side of the parking lot and parked several spots

away from the CHS on the southwest portion of the parking lot. Approximately twenty minutes

after Cisneros had entered the restaurant to meet with the CHS, the silver colored Chevrolet
Traverse with no license plates that was previously observed, again drove around the parking lot

and departed without stopping.

       45.     I have reviewed the translated transcription from the August 30, 2016 meeting

with the CHS, and concluded that there were noted differences in Cisneros’ statements during

this meeting and the May 12, 2016 meeting. Cisneros appeared to be cognizant of the fact that

the CHS may have been recording their conversation. Cisneros makes several false exculpatory

statements during the meeting, and denies knowledge of violating the law in assisting the CHS to

enter the United States in the past. Cisneros states “the guy was even like, are you sure? Have

you seen this guy’s record? And I didn’t. I never saw it, you know?” I understand this

statement to be an attempt by Cisneros to deny having knowledge of the CHS’s criminal history

at the time he assisted the CHS in entering the United States. During this meeting, Cisneros also

denied having knowledge of the CHS’s immigration hold, the CHS’s past border crossing, and

other factors surrounding the assistance Cisneros provided the CHS.

       46.     According to CW1, BROUMAND and Cisneros were present at the Grand

Havana Room in Beverly Hills for a party celebrating CW1 passing the California State Bar

Exam in May 2016. Cisneros drank excessively at the party, and caused a scene with some of

the other guests. CW1 told me that CW1 never asked BROUMAND to look up Cisneros in a

FBI database. However, CW1 admitted having numerous conversations with BROUMAND


                                                 19
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 23 of 44 Page ID #:23




regarding their concerns with Cisneros’ behavior. After the party, CW1 told BROUMAND that

CW1 did not trust Cisneros, and that CW1 felt that Cisneros was “playing both sides” between

CW1 and Termendzhyan. CW1 informed me that at some point after the party in May 2016,

BROUMAND warned CW1, by telling CW1 to “stay away from him [Cisneros], because he will

get in trouble.” CW1 understood this to mean that Cisneros was under investigation. According

to CW1, CW1 did not tell Cisneros that BROUMAND had warned CW1 that Cisneros was under

investigation.

       BROUMAND Receives Regular Cash Bribe Payments
       47.       According to CW1, CW1 and BROUMAND agreed that CW1 would pay

BROUMAND $10,000 per month for information and BROUMAND’s assistance in avoiding

detection by law enforcement. CW1 told me that CW1 would usually pay BROUMAND in

cash, $100 bills, typically $5,000 or $10,000 per time. CW1 also gave BROUMAND one (1) or

two (2) $30,000 checks, in lieu of the cash bribe payments. According to CW1, the regular cash

payments to BROUMAND began in early 2015, slowed down after the placard incident in

February 2016, and completely ceased after the May 2016 party at the Grand Havana Room.

According to CW1, BROUMAND told CW1 that they needed to “stop this” because

BROUMAND was in trouble with the FBI.

       48.       As a result of my conversations with CW1, I understand that CW1 only made

bribe payments to BROUMAND when CW1 was physically present with BROUMAND. As

such, there was not a regular frequency with which the bribe payments occurred. CW1 believed

that BROUMAND traveled to Los Angeles approximately twenty-five (25) times over the

duration of their corrupt relationship. According to CW1, BROUMAND would have received a

bribe payment from CW1 on approximately twenty (20) of those trips. CW1 did not know what

BROUMAND did with the cash bribe payments. CW1 knew that BROUMAND used some of

the money to purchase a home in Lake Tahoe, California, and that BROUMAND frequented a

jewelry store in Beverly Hills.




                                               20
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 24 of 44 Page ID #:24




       Analysis of Cash Deposits into BROUMAND’s Bank Accounts
       49.     A review of BROUMAND’s bank records, indicate that BROUMAND was

depositing portions of the cash bribe payments from CW1 into bank accounts under the control

of BROUMAND and his wife. Cash deposits made to Love Bugs accounts, controlled by

BROUMAND and his wife, were indicative of the cash bribe payments from CW1 during 2015

and 2016. The pattern of cash deposits during these years differed from that of prior and

subsequent periods. The cash deposits were whole dollar amounts, were much larger than in

prior years, and did not occur with any regular frequency as would be expected with a typical

service-oriented small business. Further, according to interviews of Love Bugs employees

conducted by agents involved in this investigation, the business did not typically receive cash

payments, and when they did receive cash it was normally converted to petty cash and used to

purchase supplies by the employees.

       50.     During 2015, there were five (5) cash deposits totaling $36,000 made to

JPMorgan Chase account number ending 8236 for Love Bugs, LLC (“Chase 8236”). Four (4) of

the deposits were made at the JPMorgan Chase Market and 8th Branch located at 1201 Market

Street, San Francisco, California. BROUMAND worked at the FBI office at 450 Golden Gate

Avenue, San Francisco, California, which is approximately four (4) city blocks away from this

branch. Of the five (5) cash deposits, three (3) deposits totaling $25,000 were made during the

four (4) days between September 21, 2015 and September 25, 2015. These cash deposits appear

to be structured to avoid bank reporting requirements. Also during 2015, there was one (1) cash

deposit on April 27, 2015 in the amount of $14,000 made to Wells Fargo account number ending

8017 for BROUMAND and his wife dba Lovebugs (“Wells Fargo 8017”). A report filed by

Wells Fargo Bank, noted that BROUMAND deposited the $14,000 on behalf of his wife, whose




                                                21
 Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 25 of 44 Page ID #:25




occupation was listed as “hair stylist.” 13 A table summarizing the cash deposits made during
2015 is below:
  Date          Amount           Bank          Account #      Account Name           Branch
                                                                                  Market and 8th
02/17/2015       $5,000.00 JPMorgan Chase             x8236   Love Bugs, LLC     1201 Market St.
                                                                                San Francisco, CA
                                                               BROUMAND
                                                                               3630 Mt. Diablo Blvd.
04/27/2015      $14,000.00 Wells Fargo                x8017    and Wife dba
                                                                                  Lafayette, CA
                                                                 Lovebugs
                                                                                  Mt. Diablo Blvd.
05/12/2015       $6,000.00 JPMorgan Chase             x8236   Love Bugs, LLC   3492 Mt. Diablo Blvd.
                                                                                   Lafayette, CA
                                                                                   Market and 8th
09/21/2015       $8,000.00 JPMorgan Chase             x8236   Love Bugs, LLC      1201 Market St.
                                                                                 San Francisco, CA
                                                                                   Market and 8th
09/24/2015       $8,000.00 JPMorgan Chase             x8236   Love Bugs, LLC      1201 Market St.
                                                                                 San Francisco, CA
                                                                                   Market and 8th
09/25/2015       $9,000.00 JPMorgan Chase             x8236   Love Bugs, LLC      1201 Market St.
                                                                                 San Francisco, CA
TOTAL           $50,000.00


          51.     During 2016, there were six (6) cash deposits totaling $32,500 made to Chase

8236. Three (3) of the deposits were made at the JPMorgan Chase Market and 8th Branch

located at 1201 Market Street, San Francisco, California. There were no cash deposits made to

the Love Bugs accounts during the second half of 2016, which corresponds with what CW1 told

me about the regular cash bribe payments to BROUMAND ceasing after May 2016.

          52.     Also during 2016, there was one (1) cash deposit on November 7, 2016 in the

amount of $7,200 made to JPMorgan Chase account number ending 0198 for BROUMAND and

his wife (“Chase 0198”). A table summarizing the cash deposits made during 2016 is below:
   Date          Amount          Bank          Account #      Account Name          Branch
                                                                                 Market and 8th
01/28/2016       $5,500.00 JPMorgan Chase          x8236 Love Bugs, LLC         1201 Market St.
                                                                               San Francisco, CA

          13
          According to home loan applications filled out by BROUMAND and his wife in 2015
and 2016, she has been employed full time as an attorney at a Real Estate Disclosure company
since approximately 1999. BROUMAND’s wife has been a member of the California State Bar
since 1997.

                                                 22
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 26 of 44 Page ID #:26



                                                                                 Market and 8th
02/29/2016    $8,000.00 JPMorgan Chase            x8236 Love Bugs, LLC          1201 Market St.
                                                                               San Francisco, CA
                                                                              Walnut Creek Geary
03/08/2016    $5,000.00 JPMorgan Chase            x8236 Love Bugs, LLC         1510 Palos Verdes
                                                                               Walnut Creek, CA
                                                                             Van Ness & McAllister
03/17/2016    $4,000.00 JPMorgan Chase            x8236 Love Bugs, LLC        500 Van Ness Ave.
                                                                               San Francisco, CA
                                                                              Walnut Creek Geary
04/18/2016    $5,000.00 JPMorgan Chase            x8236 Love Bugs, LLC         1510 Palos Verdes
                                                                               Walnut Creek, CA
                                                                                 Market and 8th
06/03/2016    $5,000.00 JPMorgan Chase            x8236 Love Bugs, LLC          1201 Market St.
                                                                               San Francisco, CA
                                                                                Mt. Diablo Blvd.
                                                           BROUMAND
11/07/2016    $7,200.00 JPMorgan Chase            x0198                      3492 Mt. Diablo Blvd.
                                                             or Wife
                                                                                 Lafayette, CA
TOTAL        $39,700.00


       53.     During the three (3) years prior to 2015, there were only five (5) cash deposits

totaling $7,705.11 to Love Bugs accounts. A table summarizing the cash deposits during 2012

through 2014 is below:
           Date       Amount       Bank              Account #        Account Name
        02/03/2012   $1,600.00 JPMorgan Chase            x8236       Love Bugs, LLC
        08/02/2012   $3,000.00 JPMorgan Chase            x8236       Love Bugs, LLC
                                                                   BROUMAND and Wife
        05/06/2013        $87.11 Wells Fargo              x8017
                                                                      dba Lovebugs
                                                                   BROUMAND and Wife
        07/25/2013        $18.00 Wells Fargo              x8017
                                                                      dba Lovebugs
        02/19/2014   $3,000.00 JPMorgan Chase             x7373      Love Bugs, LLC
        TOTAL        $7,705.11


       54.     Beginning in 2017, the pattern of cash deposits made to Love Bugs accounts

changed in at least two ways. First, the amounts of the cash deposits decreased significantly. Of

the nine (9) cash deposits totaling $18,940.58 made in 2017 and 2018, only one (1) deposit was

over $2,000. Second, most of the cash deposits made in 2017 and 2018 included cents.

Although three (3) deposits were whole-dollar amounts, the $2,000 deposit on August 7, 2017

and the $1,000 deposit on July 20, 2018 may be indicative of monies CW1 was returning to



                                                23
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 27 of 44 Page ID #:27




BROUMAND as detailed below in paragraphs 78 to 80. A table summarizing the cash deposits

made during 2017 and 2018 is below:
                Date       Amount          Bank         Account #    Account Name
             08/07/2017    $2,000.00   JPMorgan Chase       x8236    Love Bugs, LLC
             03/12/2018    $1,725.32   JPMorgan Chase       x8236    Love Bugs, LLC
             03/12/2018    $1,115.16   JPMorgan Chase       x8236    Love Bugs, LLC
             03/20/2018     $856.32    JPMorgan Chase       x8236    Love Bugs, LLC
             04/02/2018     $813.80    JPMorgan Chase       x8236    Love Bugs, LLC
             04/10/2018     $799.68    JPMorgan Chase       x8236    Love Bugs, LLC
             04/12/2018     $630.30    JPMorgan Chase       x8236    Love Bugs, LLC
             04/27/2018   $10,000.00   JPMorgan Chase       x8236    Love Bugs, LLC
             07/20/2018    $1,000.00   JPMorgan Chase       x8236    Love Bugs, LLC
             TOTAL        $18,940.58


       55.     Based upon my training and experience, I believe the cash deposited to the Love

Bugs accounts during 2015 and the first half of 2016, are portions of the cash bribe payments

BROUMAND received from CW1. Further, several of these cash deposits were structured by

BROUMAND to avoid reporting requirements. It should be noted that the structured cash

deposits were during the time period in which BROUMAND was buying his second home in

Lake Tahoe and needed money for the down payment.

       BROUMAND Receives $30,000 Checks from CW1 in Violation of 18 U.S.C. § 371
       (Conspiracy to Commit Bribery of Public Official) and Commits At Least One Overt Act

       56.     CW1 told me that BROUMAND received one (1) or two (2) $30,000 checks from

CW1, in lieu of the regular cash bribe payments. CW1 never wrote a check directly from CW1

to BROUMAND, because, in order to conceal the source and reason for the payments,

BROUMAND did not want to receive a check directly from CW1.

       57.     The first $30,000 check from CW1 occurred in September 2015 when

BROUMAND wanted to purchase a home in the Lake Tahoe area. According to CW1, CW1

owed BROUMAND two (2) or three (3) months of bribe payments, in exchange for

BROUMAND searching names in law enforcement databases and providing CW1 protection, by

assisting CW1 in CW1’s efforts to evade detection by law enforcement. BROUMAND did not




                                               24
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 28 of 44 Page ID #:28




want to physically possess $30,000 in cash, so BROUMAND requested that CW1 write a check

for the bribe payments.

       58.     Based upon a review of bank records by me and other agents assigned to this case,

I know that on or about September 30, 2015, BROUMAND deposited a $30,000 cashier’s check

from Andor’e Inc., made payable to Love Bugs, into Chase 8236 at the JPMorgan Chase Beverly

Hills Downtown Branch located at 9245 Wilshire Boulevard, Beverly Hills, California.

According to publicly available information, Andor’e Inc. was a hair salon operating in Beverly

Hills, California. CW1 said that CW1 had loaned the owner of Andor’e Inc., GM, money

needed to open the business. Rather than repaying a portion of the loan to CW1, CW1 obtained
a cashier’s check from Andor’e Inc.’s account and made it payable to Love Bugs. CW1 told me

that it was BROUMAND’s idea to make the check payable to Love Bugs. CW1 told

BROUMAND that the check to BROUMAND would be coming from a hair salon.

BROUMAND told CW1 that was “even better” as it gave the appearance of being a business

transaction since Love Bugs was also a hair salon-related business.

       59.     Approximately five (5) days after the cashier’s check was deposited to Chase

8236, on or about October 5, 2015, $30,000 was transferred to USAA Federal Savings Bank

account number ending 1136 for BROUMAND and his wife (“USAA 1136”). On or about

October 9, 2015, $35,000 was transferred from USAA 1136 to USAA Federal Savings Bank

account number ending 1128 for BROUMAND and his wife (“USAA 1128”).

       60.     Based upon my analysis of bank and escrow records and public source

information, I know that this money, along with other money totaling $355,355.06, was

transferred to Placer Title Company as a down payment for the purchase of BROUMAND’s

Lake Tahoe property, an approximately $1.3 million home located at 3275 West Lake

Boulevard, Homewood, California 96141 (the “Lake Tahoe Home”). The property is titled in

the names of BROUMAND and his wife.

       61.     After Burbank PD found the FBI parking placard in CW1’s possession in

February 2016, BROUMAND and CW1 misrepresented that this $30,000 bribe payment was


                                               25
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 29 of 44 Page ID #:29




instead a loan, as detailed further in paragraphs 78 to 80 below. Additionally, on or about

September 12, 2017, CW1 was interviewed by law enforcement and falsely stated this check was

a “loan” to BROUMAND. CW1 has since admitted to me that his September 12, 2017 statement

that the $30,000 was a loan was a lie.

       62.     CW1 told me that CW1 gave another $30,000 check to BROUMAND for the

purchase of the remaining inventory in a clothing store owned by BROUMAND’s father. Based

on my review of public records, I know that BROUMAND’s father, HB, owned and operated a

clothing store in Lake Elsinore, California, called Piero Men’s Boutique. According to CW1, in

approximately March 2016, BROUMAND asked CW1 if CW1 knew anyone that would be
willing to purchase the remaining inventory in his father’s store, which was closing. CW1 told

me that CW1 “needed to take care of BROUMAND,” so CW1 offered to purchase the remaining

inventory, which CW1 then donated to charity.

       63.     Based upon my analysis of bank records, on or about March 21, 2016, a $30,000

check from ARCA Capital, Inc., made payable to ZA, BROUMAND’s mother, was deposited in

Bank of America account number ending 4983 for HB and ZA (“BOA 4983”). CW1 told me

that this check was for the inventory of HB’s store, and ARCA Capital, Inc. was a company

under CW1’s control.

       64.     Approximately one (1) month after the check was deposited to BOA 4983, on or

about April 21, 2016 a wire in the amount of $29,300 was sent from BOA 4983 to the Love

Bugs’ JPMorgan Chase account, Chase 8236. Approximately four (4) days later on April 25,

2016, a $25,906.85 payment was made from Chase 8236 to the Love Bugs’ American Express

account number ending 1001, an account that was used extensively for personal expenses as

detailed in footnote 7.

       Cash Deposits to HB and ZA’s Bank Account
       65.     In addition to the check from CW1 that was deposited into BOA 4983 for

BROUMAND’s parents, HB and ZA, between 2015 and 2017 there were $25,000 of cash

deposits into BOA 4983, some of which may be indicative of cash bribe proceeds received by


                                                26
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 30 of 44 Page ID #:30




BROUMAND from CW1. Three deposits totaling $13,000 were made to BOA 4983 after the

Piero Men’s Boutique closed in early 2016, and all three deposits were made at BOA branches

near BROUMAND’s Primary Residence. A table summarizing the cash deposits between 2015

and 2017 is below:
   Date       Amount           Bank         Account #      Account Name           Branch
05/01/2015    $1,400.00   Bank of America      X4983        HB and ZA           Lake Elsinore
05/11/2015    $1,000.00   Bank of America      X4983        HB and ZA           Lake Elsinore
12/16/2015    $4,000.00   Bank of America      X4983        HB and ZA             Brooklyn
02/17/2016    $2,400.00   Bank of America      X4983        HB and ZA           Lake Elsinore
02/17/2016    $1,000.00   Bank of America      X4983        HB and ZA           Lake Elsinore
02/22/2016    $1,200.00   Bank of America      X4983        HB and ZA           Lake Elsinore
02/29/2016    $1,000.00   Bank of America      X4983        HB and ZA           Lake Elsinore
08/26/2016    $3,000.00   Bank of America      X4983        HB and ZA             Lafayette
08/24/2017    $5,000.00   Bank of America      X4983        HB and ZA             Martinez
08/28/2017    $5,000.00   Bank of America      X4983        HB and ZA             Martinez
TOTAL        $25,000.00


       Additional Items of Value CW1 Provided to BROUMAND

       66.     In addition to the Ducati motorcycle that CW1 purchased as a bribe payment for

BROUMAND in exchange for information on QRFM, as detailed above in paragraphs 24 to 26,

BROUMAND received numerous items of value from CW1. According to CW1, CW1 paid for

everything when BROUMAND would come to Los Angeles, to include luxury hotels,

transportation, meals, drinks, and cigars. CW1 also flew BROUMAND to Las Vegas, Nevada

on CW1’s private jet. CW1 recalled travelling to Las Vegas with BROUMAND on multiple
occasions. CW1 told me that CW1 would typically pay for all expenses while in Las Vegas, to

include hotels, meals, and drinks.

       67.     As a result of my conversations with CW1, I understand that CW1 also purchased

the services of a female escort, NK, for BROUMAND on several occasions. According to CW1,

on one occasion when BROUMAND was visiting CW1 in Los Angeles, CW1 asked

BROUMAND if he would be interested in the services of an escort, an offer that BROUMAND

accepted. CW1 told me that BROUMAND took a “liking” to NK, so CW1 made a point of

hiring NK, whenever BROUMAND was in town. CW1 recalled paying NK between $500 and


                                              27
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 31 of 44 Page ID #:31




$1,500 cash per time for her services, and CW1 told me that BROUMAND witnessed CW1

paying NK on one occasion.

       BROUMAND Proposes Utilizing FBI Sources for Financial Gain
       68.      CW1 told me that BROUMAND proposed to CW1 that they start an Intelligence

business together, J&J Intelligence Services, with a friend of BROUMAND’s who was retiring

from the Central Intelligence Agency (“CIA”). BROUMAND told CW1 that he had several

foreign sources that he had developed through his employment with the FBI, and that various

Agencies in the United States Government (“USG”) would purchase the information that these

sources had. According to CW1, BROUMAND’s plan for the business was to purchase this

information directly from these foreign sources and sell the information to the USG for a profit.

       69.      According to CW1, BROUMAND told CW1 that the company would have to go

through a certification process and that the executives of the company would need to have Top-

Secret security clearances. BROUMAND suggested that his friend retiring from the CIA would

be the Chief Executive Officer, and BROUMAND would provide the company information to

sell to the USG until BROUMAND retired from the FBI, at which point he would also become

an executive of the company. CW1 told me that BROUMAND wanted CW1 to fund the

business, and to be the main shareholder of the company.

       70.      Based on my conversations with CW1 and my review of CW1’s text messages

with BROUMAND, I learned that BROUMAND initially asked CW1 for $30,000 to purchase

information from a foreign source. BROUMAND told CW1 the information would be very

valuable. CW1 told me that CW1 was hesitant to provide the money because the company had

not been set up. In addition, CW1 was going through financial hardship at the time

BROUMAND asked, and ultimately did not fund the company. CW1 told me that

BROUMAND liked money, and in CW1’s opinion, this business was a way for BROUMAND to

monetize the information and connections BROUMAND had made through his employment

with the FBI.




                                                28
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 32 of 44 Page ID #:32




       BROUMAND Proposes Using CW1 to Launder Gaddafi Money
       71.     According to CW1, in 2017, BROUMAND informed CW1 that he had a FBI

source who was working with a Libyan General who had taken large sums of cash,

approximately $1 or $2 billion, from Libya. BROUMAND told CW1 that the cash had been

taken somewhere else in Africa, and that the FBI source was trying to “wash” the money through

the United States. According to CW1, BROUMAND told CW1 that he was working on

obtaining FBI approval, but wanted to use CW1’s private jet to launder the money in the United

States. BROUMAND stated that nobody was going to count that much money, so

BROUMAND and CW1 would be able to siphon away some of the money for their personal

benefit.

       72.     According to CW1, several weeks to a month after the initial discussion, CW1

asked BROUMAND about the status of the operation. BROUMAND told CW1 that the FBI had

deemed the operation was too great a risk and was not going to move forward with it. Based on

my conversations with CW1, I learned that BROUMAND told CW1 that he believed they could

still pull off the operation without the FBI. BROUMAND told CW1 that they would still need to

use CW1’s private jet to fly in and pick up the money, and that they would need some armed

security. However, according to CW1, BROUMAND eventually told CW1 to “forget about it,”

and that it was “too dangerous.” Given BROUMAND’s position in the FBI and CW1’s history

with BROUMAND, CW1 told me that CW1 believed the information BROUMAND was

providing to be credible.

       73.     Based on my review of FBI source reporting, I know that beginning in late 2016

and continuing through 2017, a FBI source was reporting to BROUMAND information

regarding $2.5 billion that was smuggled out of Libya at the direction of Muammar al-Gaddafi

(“Gaddafi”) prior to the Arab Spring. The FBI source provided details to BROUMAND

regarding the alleged location of the money. Based on my review of an audit of the FBI’s case

management database, on or about October 4, 2016, BROUMAND queried “Gaddafi money” in

the FBI database. BROUMAND’s query returned additional information that it appears


                                              29
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 33 of 44 Page ID #:33




BROUMAND told CW1 in devising a scheme to personally profit from the FBI source’s

information regarding the Gaddafi money.

       BROUMAND Offers to Remove Individuals from the Terrorist Watchlist
       74.     According to CW1, BROUMAND told CW1 that he had the ability to remove

Iranians from the terrorist watchlist. CW1 told me that CW1 understood this be an offer from

BROUMAND, to remove someone from the terrorist watchlist at the direction of CW1 in

exchange for a bribe payment. According to CW1, CW1 never asked BROUMAND to remove

anyone from the terrorist watchlist.

       C.      False Statements by BROUMAND
       False Statements on SFDF

       75.     Pursuant to Executive Order 12968, the FBI has established a Financial

Disclosure Program whereby personnel with access to particularly sensitive classified

information are required to complete and submit an annual Security Financial Disclosure Form

(“SFDF”). Because of his position as a FBI Special Agent with access to sensitive

compartmented information, BROUMAND was required to complete and submit a SFDF

annually. The SFDF form contains a certification, signed by BROUMAND that the answers are

“true, complete and accurate” and an acknowledgement by him that false answers are subject to

punishment under 18 U.S.C. § 1001 (False Statements).

       76.     I have obtained and reviewed BROUMAND’s SFDF forms, and learned that

BROUMAND failed to disclose, and/or misrepresented the bribe payments he received from

CW1 on his 2015, 2016, and 2017 SFDF. BROUMAND submitted his 2015 SFDF on or about

April 25, 2016; his 2016 SFDF on or about March 24, 2017; and his 2017 SFDF on or about

April 27, 2018.

       77.     The SFDF requires the filer to disclose all sources of income for the year, and to

describe their cash income if it exceeds $10,000 for the year. Based on my review of his SFDF,

BROUMAND failed to disclose on his 2015 and 2016 SFDF any of the bribe payments he

received from CW1, cash or checks, as detailed above in paragraphs 47 to 64. BROUMAND


                                                30
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 34 of 44 Page ID #:34




also failed to disclose as income on his 2015 SFDF the Ducati Panigale that CW1 purchased for

BROUMAND as a “bonus” for information BROUMAND had provided regarding QRFM,

detailed above in paragraphs 24 to 26.

       78.    According to CW1, after BROUMAND’s FBI parking placard was seized by

Burbank PD, BROUMAND told CW1 that he needed to make the bribe payment from CW1, in

the form of a $30,000 check from Andor’e Salon to Love Bugs, detailed in paragraph 57 to 61

above, appear to be a loan from CW1. BROUMAND told CW1 that he would need to write

several checks to CW1, as “repayment” of the loan. CW1 told me that CW1 and BROUMAND

agreed that if they were ever questioned by law enforcement, they would say that the $30,000
check was a loan, and that BROUMAND was making payments on it. As such, after becoming

aware of the presence of a DOJ OIG investigation, refer to footnote 8, BROUMAND

misrepresented on his 2017 SFDF, filed in April 2018, that the $30,000 bribe payment from

CW1 was a loan. After reviewing BROUMAND’s SFDF, I know that BROUMAND listed on

his 2017 SFDF that the loan from CW1 was for $30,000, that BROUMAND had repaid $3,000

on the loan, and that the remaining balance was $27,000. Whether it was a loan or a bribe, the

$30,000 payment from CW1 was reported over a year late and only after BROUMAND knew

DOJ OIG was investigating him.

       79.    An analysis of BROUMAND’s bank records shows that BROUMAND made two

(2) $1,000 payments to CW1 in December 2016, and one (1) $1,000 payment to CW1 in April

2018. On or about December 13, 2016, check number 4783 drawn on USAA 1136, made

payable to CW1 from BROUMAND, cleared. The check was dated December 3, 2016 and had

“$29,000” written in the memo line. On or about December 27, 2016, check number 4704 drawn

on USAA 1136, made payable to CW1 from BROUMAND, cleared. The check was dated

December 19, 2016 and had “$28,000” written in the memo line. On or about May 21, 2018,

check number 4904 drawn on USAA 1136, made payable to CW1 from BROUMAND, cleared.

The check was dated April 30, 2018 and had “$27,000” written in the memo line.




                                               31
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 35 of 44 Page ID #:35




        80.    According to CW1, when CW1 received the $1,000 checks from BROUMAND,

CW1 cashed the checks. CW1 then gave the cash back to BROUMAND the next time CW1 saw

BROUMAND. A review of BROUMAND’s bank records show that on August 7, 2017, $2,000

cash was deposited into Chase 8236, and on July 20, 2018, $1,000 cash was deposited into Chase

8236.

        False Statements to FBI Special Agent Kusin
        81.    BROUMAND consistently misrepresented the nature of his relationship with

CW1 to other FBI Special Agents and to his supervisor, in order to conceal the true nature of his

corrupt relationship with CW1. According to CW1, BROUMAND and CW1 had multiple

conversations about making CW1 a FBI source. BROUMAND’s intent in doing so was to

provide protection and cover for their corrupt relationship. CW1 told me that CW1 had no intent

of being an actual FBI source or of providing useful information to the FBI, and BROUMAND

was aware of this.

        82.    BROUMAND made multiple false statements to FBI SA Kusin, as detailed in

paragraphs 18 to 22 above. In January 2015, BROUMAND told SA Kusin that he had a

potential source that could assist in the Termendzhyan investigation, and wrote in his travel

request that he was “assist[ing] LA division with source recruitment.” However, BROUMAND

had no intention of introducing SA Kusin to CW1, and advised CW1 not to meet with the FBI.

        83.    In March 2017, CW1 told BROUMAND that he wanted to meet with the FBI and

provide information on Termendzhyan. CW1 wanted to begin cooperating with the government,

in hopes of limiting his exposure from his involvement in criminal activity. CW1 believed that

CW1 had attracted the attention of law enforcement because BROUMAND informed CW1 that

Termendzhyan was under investigation, CW1’s co-conspirator in a credit card fraud scheme was

arrested, and Cisneros was questioned by the FBI regarding his association with Termendzhyan

and Balian. According to CW1, BROUMAND was reluctant to arrange a meeting, and advised

CW1 against meeting with the FBI.




                                                32
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 36 of 44 Page ID #:36




       84.     On or about March 21, 2017, the day before Cisneros was arrested on federal

charges, BROUMAND emailed SA Kusin, and asked him “If you remember a couple years back

I tried to introduce you to [CW1]. [CW1] told me that [CW1] contacted you today, and being

that you didn’t remember [CW1], you requested I reach out to you to jog your memory.” SA

Kusin told me that BROUMAND’s email was not accurate, and that BROUMAND had never

introduced SA Kusin to CW1. SA Kusin had never met CW1, and the only way CW1 would

have had his number was if BROUMAND had given it to CW1.

       False Statements to FBI Supervisory Special Agent Kelly
       85.     FBI SSA Kelly, BROUMAND’s supervisor, believed that BROUMAND may

have been assisting SA Kusin and SA Adib recruit FBI sources in Los Angeles, and that

BROUMAND was utilizing his relationship with HM to develop potential FBI sources in Los

Angeles. BROUMAND appears to have concealed and misrepresented to SA Kelly the true

nature of his relationship with CW1, and the reasons for his travel to Los Angeles.

       86.     After the January 2015 trip to Los Angeles, BROUMAND had no documented

official FBI travel to Los Angeles. Further, BROUMAND had no continued contact with SA

Kusin after January 2015, and was not assisting SA Kusin to recruit FBI sources. SA Adib told

me that he had not worked with BROUMAND since 2012, and that BROUMAND was not

assisting him in recruiting sources. According to SA Adib, in 2012 BROUMAND was

instructed by FBI management to stop operating in Los Angeles, after it was discovered that

BROUMAND was operating outside of his territory, without proper approval, and was coaching

sources on what to say to FBI management and other agencies, in hopes that it would allow

BROUMAND to continue operating the Los Angeles based sources.

       False Statements to FBI Special Agent Adkins

       87.     BROUMAND also made multiple false statements to FBI SA Adkins, as detailed

in paragraphs 35 to 46 above. BROUMAND falsely told SA Adkins that CW1 had attempted to

broker a meeting between he and Termendzhyan, when BROUMAND had actually met

Termendzhyan a year prior. BROUMAND wrote in the FD-1057 he serialized to SA Adkins’


                                               33
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 37 of 44 Page ID #:37




case file, which I have obtained and reviewed, that BROUMAND had only met Cisneros one

other time, when in fact BROUMAND spent a significant amount of time with Cisneros over the

duration of his corrupt relationship with CW1, and had travelled to Las Vegas with Cisneros on

CW1’s private jet. In addition, BROUMAND wrote in the FD-1057 that Cisneros arrived to and

left the party with an “unknown police officer from Glendale police department.” As a result of

my conversations with CW1, I know that the Glendale police officer was Balian, who

BROUMAND also had spent a significant amount of time with over the duration of his corrupt

relationship with CW1. I believe that BROUMAND withheld the identity of Balian, because

BROUMAND knew that SA Adkins was suspicious of his justification for having looked up
“Cisneros” in the FBI case management database and was attempting to protect Balian from law

enforcement scrutiny.

       False Statements on a Union Bank Loan
       88.     On or about November 10, 2016, BROUMAND purchased his primary residence,

located at 1450 Rancho View Drive, Lafayette, CA 94549 (the “Primary Residence”) for

approximately $1.7 million. BROUMAND obtained an approximately $1.3 million loan from

MUFG Union Bank (“Union Bank”) in purchasing the Primary Residence. Equitable Mortgage

Group (“EMG”) brokered the loan between BROUMAND and Union Bank. BROUMAND

signed a Uniform Residential Loan Application for the loan from Union Bank on November 2,

2016 that contained multiple false statements.

       89.     According to EMG Loan Officer CC, BROUMAND had a debt-to-equity ratio of

42.997% at the time he applied for this loan. CC told me that the highest allowable debt-to-

equity ratio BROUMAND could have, and still qualify for the Union Bank loan, was 43%.

BROUMAND included on the loan application that he was renting the Lake Tahoe Home for

$5,500 per month. CC told me that without this rental income from the Lake Tahoe Home,

BROUMAND would not have qualified for the Union Bank loan.

       90.     As support for the loan application, BROUMAND provided EMG a lease

agreement for the Lake Tahoe Home dated July 31, 2016, that was signed by BROUMAND as


                                                 34
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 38 of 44 Page ID #:38




the landlord, and MW and TW as the tenants. The agreement stated that MW and TW would

rent the property from August 1, 2016 until July 31, 2017 for $5,500 per month, with a security

deposit of $2,000 due with the first month of rent. Also included as support, was a copy of a

check number 797 from MW and TW, dated July 31, 2016, made payable to BROUMAND for

$7,500. On or about August 31, 2016, the Union Bank underwriter, LM, requested additional

support for the rental income from the Lake Tahoe Home. In response, BROUMAND provided

EMG an email dated August 31, 2016 from MW, which explained why MW and TW entered

into a lease agreement with BROUMAND for the Lake Tahoe Home. BROUMAND also

provided a copy of an additional check, number 822, from MW and TW dated September 1,
2016. The $5,500 check was made payable to BROUMAND’s wife and had “Tahoe Rent”

written in the memo line.

       91.     A review of BROUMAND’s bank records, show that checks 797 and 822 from

MW and TW were deposited into USAA 1136 on or about August 15, 2016 and September 1,

2016, respectively. Additionally, check number 850 from MW and TW for $5,500, dated

September 26, 2016, and made payable to BROUMAND’s wife, was deposited in USAA 1136

on or about October 7, 2016. No additional checks from MW and TW for lease of the Lake

Tahoe Home were deposited in BROUMAND’s bank accounts after the purchase of the Primary

Residence.

       92.     According to MW and TW, who are related to BROUMAND’s wife, they did not

rent the Lake Tahoe home, as stated in the lease agreement, and had never intended to pay rent

pursuant to the lease agreement for the entire term of the lease. Although MW and TW would

stay at the Lake Tahoe home as guests, they entered into the lease agreement and provided the

checks, which were for the stated purpose of “Tahoe Rent,” to BROUMAND and his wife for the

sole purpose of allowing BROUMAND and his wife show additional income when applying for

the Union Bank loan to purchase their Primary Residence. Additionally, MW and TW believed

that BROUMAND and his wife had reimbursed them in cash for some of these “Tahoe Rent”

payments. I believe that BROUMAND and his wife, with the assistance of MW and TW,


                                               35
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 39 of 44 Page ID #:39




fabricated the lease agreement and rent payments in order to qualify for the Union Bank loan for

which they otherwise would not have qualified.

        93.    According to CC, BROUMAND should have disclosed any portion of the down

payment for the Primary Residence that included a loan or gift from a third party. Additionally,

BROUMAND would have been required to fill out a gift letter for the monies he received.

BROUMAND failed to disclose that $33,000 of the down payment originated from BOA 4983,

an account in the name of BROUMAND’s parents. On or about August 17, 2016, check number

5236, drawn on BOA 4983 cleared. The check was in the amount of $33,000 and was payable to

Lawyer’s Title. The memo was “deposit for 1450 Rancho View.”
        False Statements on an Equitable Mortgage Group Loan
        94.    On or about November 3, 2015, BROUMAND purchased the second residence in

the Lake Tahoe, California area, located at 3275 West Lake Boulevard, Homewood, California

96141 (the “Lake Tahoe Home”) for approximately $1.3 million. BROUMAND obtained an

approximately $875,000 loan from American Pacific Mortgage (“APM”) in purchasing the Lake

Tahoe Home, which appeared to be a vacation home. EMG is a subsidiary of APM, and

qualified BROUMAND for the loan. BROUMAND signed a Uniform Residential Loan

Application for the loan from EGM on September 15, 2015 that contained multiple false

statements. CC told me that EMG sells almost all their large loans within 30 days of initially

funding the loan, and EMG had sold the loan for the Lake Tahoe Home to JPMorgan Chase

Bank.

        95.    CC told me that BROUMAND had a debt-to-income ratio of 39% at the time he

qualified for this loan. CC told me that the minimum industry standard debt-to-income ratio for

this type of “Jumbo Loan” was 43%. BROUMAND initially wanted to purchase the Lake Tahoe

Home as a vacation property, but then decided to classify the property as an investment property.

BROUMAND included on the loan application that he would be renting the Lake Tahoe Home

for $6,550 per month. CC told me that without this rental income from the Lake Tahoe Home,

BROUMAND would not have qualified for the loan.


                                               36
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 40 of 44 Page ID #:40




       96.     As support for the loan application, BROUMAND provided EMG a lease

agreement for the Lake Tahoe Home dated October 19, 2015, that was signed by BROUMAND

or his wife as the landlords, and MW and TW as the tenants. The agreement stated that MW and

TW would rent the property from November 1, 2015 until November 1, 2016 for $6,550 per

month, with a security deposit of $1,000 due with the first month of rent. BROUMAND did not

include any checks from MW and TW as proof of rental income for the property. A review of

BROUMAND’s bank records failed to locate any checks from MW and TW for this lease of the

Lake Tahoe Home.

       97.     According to MW and TW, they did not rent the Lake Tahoe home at that time.
Further, MW and TW were not aware of the existence of this lease agreement, and stated that

those were not their signatures on the lease agreement. I believe that BROUMAND and his wife

fabricated the lease agreement and forged MW and TW’s signatures on the agreement in order to

qualify for the EMG loan for which they otherwise would not have qualified.

       98.     CC told me that BROUMAND should have also disclosed any portion of the

down payment for the Lake Tahoe Home that included a loan or gift from a third party. Any

money that was from an unsecured loan would not have been allowed to be included in

BROUMAND’s cash reserves. Any money that was a gift would have needed to be disclosed,

and a gift letter would have needed to be included. CC told me that EMG investigates the

sources of all deposits in a borrower’s bank account that exceed 25% of their monthly income for

at least the previous two (2) to three (3) months, in order to ensure that the money for the cash

reserve was not borrowed.

       99.     BROUMAND failed to disclose that $30,000 of the down payment for the Lake

Tahoe Home originated from CW1, as detailed above in paragraphs 57 to 61. Further,

BROUMAND falsified records that he submitted to EMG, in order to conceal the true source and

nature of the $30,000 check from Andor’e Salon. EMG required BROUMAND to provide

support for the $35,000 wire transfer into USAA 1128 on October 9, 2015. $30,000 of this wire




                                                37
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 41 of 44 Page ID #:41




transfer originated as a bribe payment from CW1, in the form of a cashier’s check from Andor’e

Salon, which BROUMAND deposited into Chase 8236.

       100.    In explaining the $35,000 wire transfer, BROUMAND provided EMG a letter

stating that he had sold his boat, and that the purchaser “used a check drawn from his business

account.” BROUMAND went on to say that he requested the check be made payable to Love

Bugs because he wanted to deposit the check immediately and could not deposit the check in his

personal USAA account since the bank was located in Texas. BROUMAND also provided

EMG a copy of the Andor’e Salon cashier’s check, and a Bill of Sale for the Boat, a 1991 Sea

Ray. The Bill of Sale, dated September 30, 2015, listed CW1 as the purchaser of the boat.
       101.    CW1 told me that CW1 never purchased a boat from BROUMAND. After

reviewing the Bill of Sale, CW1 confirmed that CW1 did not buy BROUMAND’s boat and did

not recall ever signing the Bill of Sale. I believe that BROUMAND falsified the Bill of Sale that

he submitted to EMG, in order to conceal the bribe payment from CW1. Based upon my

investigation, I have determined BROUMAND actually sold the boat to someone else via

Craigslist on or about December 15, 2015 for approximately $6,000 in cash.

       D.      BROUMAND Underreports His Taxable Income
       102.    Based upon my review of the relevant records, and discussions with IRS-CI

Special Agent Mark Silva, I believe that BROUMAND underreported his taxable income for the

2013, 2014, 2015, 2016, and 2017 tax years.

       103.    BROUMAND failed to report over $48,000 in gross receipts on Love Bugs’

partnership income tax return (Form 1065) for the tax years 2013, 2015, 2016, and 2017. This

calculation of unreported income is completely unrelated to the bribery scheme. Love Bugs

used merchant accounts to process credit card transactions at its two (2) business locations. The

proceeds from these merchant account transactions were deposited into a JPMorgan Chase Bank

account for Love Bugs. BROUMAND received Forms 1099-K, Payment Card and Third Party

Network Transactions, from the merchant processors that showed the total amounts received.

BROUMAND reported as gross receipts on Love Bugs’ Form 1065 the amounts listed on the


                                               38
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 42 of 44 Page ID #:42




Forms 1099-K for the credit card and third party transactions. However, BROUMAND failed to

report the cash and checks that Love Bugs received from customers. BROUMAND deposited

the majority of these checks into separate Wells Fargo Bank accounts for Love Bugs.

        104.   BROUMAND also failed to report over $113,000 in partnership income received

from Love Bugs for the tax years 2013, 2014, 2015, and 2016. BROUMAND filed a personal

income tax return (Form 1040/1040X) for these tax years with a filing status of “married filing

jointly.” BROUMAND and his wife are equal partners in Love Bugs, and together own 100% of

the business. However, BROUMAND only reported 50% of the ordinary business income from

Love Bugs’ Form 1065 on his Form 1040/1040X for these tax years, despite BROUMAND and
his wife owning 100% of the business. Further, for the 2017 tax year, BROUMAND reported a

loss on Love Bugs’ Form 1065, and included 100% of the ordinary business loss on his Form

1040.

        105.   In the 2015 tax year, BROUMAND also failed to report approximately $200,000

in capital gains from the sale of two (2) condominium properties in Corpus Christi, Texas and

one (1) property in Tahoma, California. The proceeds from the sale of these properties were

deposited into BROUMAND’s bank account and were subsequently used to purchase the Lake

Tahoe Home.

        106.   In the 2015 and 2016 tax years, BROUMAND also failed to report as taxable

income the bribe payments and Ducati that he received from CW1.

                  V.   NECESSITY FOR CELL-SITE AND GPS ORDER
        107.   Locating BROUMAND in order to safely effect an arrest is a difficult endeavor

for a variety of reasons, which include the location of the Primary Residence, BROUMAND’s

familiarity with FBI tactics, BROUMAND’s access to weapons, and the novel coronavirus

pandemic.

        108.   BROUMAND was an FBI Special Agent for twenty (20) years. As such,

BROUMAND is extensively aware of the FBI’s training and tactics. BROUMAND is aware of




                                               39
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 43 of 44 Page ID #:43




the FBI’s surveillance techniques, and was trained to look for and identify possible surveillance.

BROUMAND is also familiar with the FBI’s tactics and procedures for effecting arrests.

        109.    Rancho View Drive in Lafayette, California, is a narrow, hilly, dead-end

residential road, which I have personally been to and observed. Rancho View Drive intersects

with Pleasant Hill Road, which is a main four (4) lane thru way, with no area to discretely park

on the side of the road. The location of BROUMAND’s Primary Residence on Rancho View

Drive, which is contained on a lot on top of a hillside that slopes down in the back, along with

the other factors, makes it difficult to conduct surveillance to identify individuals coming in and

out of the Primary Residence. Any attempt to place a surveillance vehicle on either Rancho
View Drive or Pleasant Hill Road would immediately be identified by BROUMAND, as there is

no location to safely and discretely park on either road.

        110.    On March 19, 2020, in response to the novel coronavirus pandemic, the state of

California issued a stay at home order. The order states that until further notice, everyone in

California is required to stay at home except to get food, care for a relative or friend, get

necessary health care, or go to an essential job. This order remains in effect with no end date

currently set. It is possible that BROUMAND may not leave the Primary Residence for several

days, making it even more difficult to ascertain BROUMAND’s location in order to safely effect

the arrest. Additionally, BROUMAND could be sheltering in place at the Lake Tahoe Home.

        111.    During the execution of a search warrant by myself and other special agents of

IRS, DOJ OIG and FBI at the Primary Residence in December 2018, we located twenty (20)

non-FBI issued firearms at the residence. According to the Automated Firearms System

(“AFS”), a database maintained by the California state Department of Justice, as of April 18,

2020, BROUMAND has registered approximately 12 firearms. BROUMAND’s knowledge of

FBI techniques and access to firearms further necessitates the need to discretely determine his

physical location to safely effect the arrest.




                                                  40
Case 2:20-cr-00224-RGK Document 1 Filed 04/21/20 Page 44 of 44 Page ID #:44




       112.    As a result of these challenges in ascertaining BROUMAND’s location, combined

with the information detailed above in this affidavit, I believe that there is probable cause and an

operational need to obtain cell-site and GPS tracking from BROUMAND’s cellular phone.

                                      VI. CONCLUSION
       113.    For all the reasons described above, there is probable cause to believe that

BROUMAND has committed a violation of 18 U.S.C. § 371 (Conspiracy to Commit Bribery of

Public Official).


Attested to by the applicant in accordance with the
requirements of Fed. R. Crim. P. 4.1 by telephone
         21 day of April, 2020.
on this ____



HONORABLE GAIL J. STANDISH
UNITED STATES MAGISTRATE JUDGE




                                                 41
